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7

8
                                      UNITED STATES DISTRICT COURT
9
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     INFINITY ENERGY, INC., a California Corporation, )   CASE NO.: 2:21-CV-00438-WBS-KJN
12                                                    )
                    Plaintiff,                        )   ASSIGNED TO:
13                                                    )   THE HON. WILLIAM B. SHUBB
             vs.                                      )
14                                                    )   JOINT REQUEST TO MODIFY SCHEDULING
                                                      )   ORDER AND ORDER
15   INFINITE ENERGY HOME SERVICES, INC., a           )
     California Corporation.                          )
16                                                    )
                    Defendant.                        )   SUIT FILED:           MARCH 11, 2021
17                                                    )
                                                      )
18                                                    )
                                                      )
19

20
             Pursuant to Federal Rules of Civil Procedure, Rule 16(b)(4), Plaintiff Infinity Energy, Inc.
21
     (“Plaintiff”) and Defendant Infinite Energy Home Services, Inc. (“Defendant”) (collectively, the
22
     “Parties”) jointly request the court modify the Pretrial Scheduling Order, issued on June 23,
23
     2022.
24
             The court has the authority to modify the pretrial Scheduling Order for good cause. (FRCP
25
     Rule 16(b)(4)).
26
             The Parties herein have diligently pursued their discovery obligations as well as
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     settlement discussions, however, given the complexity of issues raised in the litigation, the
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                            JOINT REQUEST TO MODIFY SCHEDULING ORDER AND ORDER

                                                                           Case No. 2:21-CV-00438-WBS-KJN
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1    discovery necessary to prepare for trial, and various scheduling issues, the Parties herein require

2    additional time to complete a small number of outstanding discovery items. The Parties require

3    an extension of the discovery cut-off date to complete certain depositions which have either yet

4    to be completed due to scheduling obstacles or are of witnesses who have only recently been

5    identified during PMQ depositions. Given the complexity of the issues raised, the numerous

6    individuals identified for deposition, and the extent of written discovery, the Parties believe it is

7    in the best interests of both sides to modify the Court’s pretrial Scheduling Order, and to

8    continue the trial itself.

9            The Parties have met and conferred and have identified the remaining depositions to be

10   completed including Plaintiff’s PMQ, Cory Gilbert, Defendant’s PMQ, Rich Walton, Plaintiff’s and

11   Defendant’s disclosed experts, and the brief conclusion of the deposition of Plaintiff’s PMQ,

12   Wesley Armstrong. The parties have completed written discovery.

13           As such, the Parties respectfully request that the Court modify the May 23, 2022

14   Scheduling Order as follows:

15           1.      The depositions of Plaintiff’s PMQ, Cory Gilbert, Defendant’s PMQ, Rich Walton,

16                   Plaintiff’s and Defendant’s disclosed experts, and the brief conclusion of Plaintiff’s

17                   PMQ, Wesley Armstrong, shall be conducted as to be completed by December 31,

18                   2022. All other discovery is closed.

19           2.      All motions, except for motions for continuances, temporary restraining orders,

20                   or other emergency orders, shall be filed on or before February 28, 2023.

21           3.      The Final Pretrial Conference shall be April 30, 2023, or as soon thereafter as the

22                   Court’s schedule shall allow.

23           4.      The trial shall commence on July 1, 2023, at 9:00 a.m., or as soon thereafter as

24                   the Court’s schedule shall allow.

25           The Parties request that all other dates included in the June 23, 2022, Scheduling Order

26   shall remain in effect.

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28                                                       2

                               JOINT REQUEST TO MODIFY SCHEDULING ORDER AND ORDER

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1    Dated: August 30, 2022

2                                                          ELGUINDY, MEYER & KOEGEL, APC

3
                                                          By: /s/ W. Patrick Cronican
4                                                               David L. Price, Esq.
5                                                               Benjamin D. Koegel, Esq.
                                                                W. Patrick Cronican, Esq.
6                                                Attorneys for Plaintiff INFINITY ENGERY, INC., a
                                                 California Corporation
7

8

9
     Dated: August 30, 2022
10
                                                                KROGH & DECKER, LLP
11

12
                                                          By:  /s/ Shawn M. Krogh
13                                                             Shawn M. Krogh, Esq.
                                                               Cagil Arel, Esq.
14                                              Attorneys for Defendant INFINITE ENERGY HOME
                                                SERVICES, INC.
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17
                                                      ORDER
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            Having found good cause exists pursuant to FRCP 16(b)(4), the court GRANTS the Parties’
19
     motion to modify the May 23, 2022 pretrial Scheduling Order.
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            The May 23, 2022 pretrial Scheduling Order is modified as follows:
21
            1.     The depositions of Plaintiff’s PMQ, Cory Gilbert, Defendant’s PMQ, Rich Walton,
22
                   Plaintiff’s and Defendant’s disclosed experts, and the brief conclusion of Plaintiff’s
23
                   PMQ, Wesley Armstrong, shall be conducted as to be completed by December 31,
24
                   2022. All other discovery is closed.
25
            2.     All motions, except for motions for continuances, temporary restraining orders,
26
                   or other emergency orders, shall be filed on or before February 28, 2023.
27

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                          JOINT REQUEST TO MODIFY SCHEDULING ORDER AND ORDER

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1        3.     The Final Pretrial Conference is reset for May 22, 2023 at 1:30 p.m.

2        4.     The jury trial is reset for July 25, 2023, at 9:00 a.m.

3

4        All other dates contained in the May 23, 2022 Scheduling Order shall remain in effect.

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6        IT IS SO ORDERED.

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8        Dated: September 1, 2022

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                        JOINT REQUEST TO MODIFY SCHEDULING ORDER AND ORDER

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